                                                                                                                                                                                               Page:           1

                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                         Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                      Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX7288
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1715                                                                           Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                          Separate Bond (if applicable): $1,000,000.00


       1                2                          3                                              4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   01/15/14                     SPECIALTY FUELS BUNKERING, L.L.C. CLOSE DEBTOR'S NON-                                          1129-000                 $1,136.95                                  $1,136.95
                                160 SAINT EMANUEL STREETMOBILE, EXEMPT BANK ACCT
                                AL 36602-3007                     NSF See deposits 3 and 4 for
                                                                  replacement checks
   01/15/14            11       VERIZON WIRELESS                         REFUND Security Deposit                               1290-000                    $128.59                                 $1,265.54
                                PO Box 2167Folsom, CA 95763
   03/05/14             1       BBVA COMPASS                             CLOSE DEBTOR'S NON-                                   1129-000                    $498.05                                 $1,763.59
                                Cashiers Check                           EXEMPT BANK ACCT
                                                                         Partial Replacement from NSF
                                                                         deposit #1 of $1,136.95
   03/05/14             1       BBVA COMPASS                             CLOSE DEBTOR'S NON-                                   1129-000                    $638.90                                 $2,402.49
                                Cashier's Check                          EXEMPT BANK ACCT
                                                                         Partial Replacement from NSF
                                                                         deposit #1 of $1,136.95
   04/02/14            10       ALABAMA BULK TERMINAL LLC                Proceeds from sale of Fuel Oil                        1129-000               $70,000.00                                 $72,402.49
                                PO Box 03899Tuscaloosa, AL 35403-
                                8995
   04/14/14                     Reverses Deposit # 1                     CLOSE DEBTOR'S NON-                                   1129-000               ($1,136.95)                                $71,265.54
                                                                         EXEMPT BANK ACCT
                                                                         Insufficient Funds BBVA
                                                                         reissued in 2 seperate checks
   04/25/14                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                          $15.00          $71,250.54

   05/06/14            12       JODY WISE CAMPBELL                    Fund held in Baldwin County                              1249-000              $282,487.22                                $353,737.76
                                Baldwing County Circuit ClerkCivil    Ct.
                                Payment System312 Courthouse Sq. Ste.
                                10Bay Minette, AL 36507
   05/27/14                     UNION BANK                               BANK SERVICE FEE                                      2600-000                                          $95.79         $353,641.97

   06/23/14             3       DAVISON FUELS, INC                       Payment on Account Davison                            1121-000                    $540.00                              $354,181.97
                                8450 Tanner Williams RoadMobile ,AL      Fuels
                                36608
   06/23/14             7       MFGI A/C                                 Payment on Account                                    1121-000              $216,406.60                                $570,588.57
                                Union BankTrust DepartmentPO Box
                                85602San Diego, CA 92186
   06/23/14             7       MFGI A/C                                 Payment on Account                                    1121-000               $16,517.02                                $587,105.59
                                Union BankTrust DepartmentPO Box
                                85602San Diego, CA 92186

                                     Case 13-04041                 Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                       Desc Main
                                                                                                                                                     $587,216.38                $110.79
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                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                   Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                Bank Name: Union Bank
                                                                                                         Account Number/CD#: XXXXXX7288
                                                                                                                                  Checking Account
  Taxpayer ID No: XX-XXX1715                                                                     Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                    Separate Bond (if applicable): $1,000,000.00


       1                2                        3                                          4                                                    5                   6                     7

Transaction Date    Check or           Paid To / Received From                  Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                               Code                                                           ($)
   06/25/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $444.47         $586,661.12

   07/25/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $575.69         $586,085.43

   08/11/14             2       HANCOCK BANK - CASHIER'S CHECK                                                           1129-000                 $2,185.42                              $588,270.85
                                TO
                                close account
   08/25/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $871.76         $587,399.09

   09/25/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $872.90         $586,526.19

   10/27/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $844.64         $585,681.55

   11/25/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $871.55         $584,810.00

   12/26/14                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $842.17         $583,967.83

   01/26/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $868.96         $583,098.87

   02/25/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $867.70         $582,231.17

   03/25/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $782.62         $581,448.55

   04/27/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $865.11         $580,583.44

   05/26/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $836.16         $579,747.28

   06/25/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $862.68         $578,884.60

   07/27/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $833.63         $578,050.97

   08/25/15                     UNION BANK                             BANK SERVICE FEE                                  2600-000                                        $491.54         $577,559.43




                                    Case 13-04041                Doc 444   Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                            Page Subtotals:                                                     Desc  Main
                                                                                                                                                 $2,185.42           $11,731.58
                                                                           Document         Page 2 of 17
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                          Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                       Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX7288
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX1715                                                                            Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                           Separate Bond (if applicable): $1,000,000.00


       1                2                           3                                              4                                                    5                    6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                            ($)
   09/09/15            13       PROGRESSIVE SPECIALTY                     REFUND INSURANCE                                      1249-000                 $5,287.00                               $582,846.43
                                INSURANCE CO,                             PREMIUM
                                PNC Bank N.A. 070Ashland, OH 1-877-
                                448-9544
   09/25/15                     UNION BANK                                BANK SERVICE FEE                                      2600-000                                         $490.85         $582,355.58

   10/26/15                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $477.67         $581,877.91
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   11/25/15                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $494.52         $581,383.39
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   12/10/15          300001     LITTLETON, DENISE                         Attorney for Trustee Fees                             3110-000                                      $4,860.00          $576,523.39
                                312-T Schillinger Rd S.                   (Trustee
                                Box 415
                                Mobile, AL. 36608
   12/28/15                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $478.17         $576,045.22
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   01/25/16                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $490.80         $575,554.42
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   02/24/16             9       TVM7                                      Compromise Payment                                    1149-000                 $1,200.00                               $576,754.42
                                160 Country Club Drive                    On Furniture
                                Daphne, AL 36526                          Fed Exp # 8094 3190 2073
   02/25/16                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $487.81         $576,266.61
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/25/16                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $456.14         $575,810.47
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   04/07/16            14       RJO'Brien                                 Funds Held                                            1129-000                    $909.30                              $576,719.77
                                222 S. Riverside Plaza                    FedEx # 809431902030
                                Chicago, IL 60606
   04/25/16                     Union Bank                                Bank Service Fee under 11                             2600-000                                         $488.01         $576,231.76
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)



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                                                                                Page Subtotals:                                                        Desc  Main
                                                                                                                                                        $7,396.30             $8,723.97
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                         Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                      Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX7288
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1715                                                                           Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                          Separate Bond (if applicable): $1,000,000.00


       1                2                            3                                            4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   04/28/16            15       TexPar Energy                            Settlement Proceeds                                   1249-000                 $2,500.00                              $578,731.76
                                PO Box 809                               FedEx # 809431901467
                                Onalaska, WI 54650
   05/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $472.60         $578,259.16
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/27/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $490.09         $577,769.07
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $473.93         $577,295.14
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/17/16            16       Petrochina Internationa                  Settlment from Adv Proc 15-                           1249-000                 $2,500.00                              $579,795.14
                                2000 West Sam Houston Parkway S          00170
                                Suite 1300                               Fed Exp# 8094 3190 1629
                                Houston, TX 77042
   08/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $489.28         $579,305.86
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/26/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $489.83         $578,816.03
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/27/16            17       Goodway Refining, LLC                    Settlement Proceeds from Adv                          1249-000              $100,000.00                               $678,816.03
                                Post Office Box 649                      Proc
                                Brewton, AL 36427                        Fed Ex # 8094 3190 1651
                                (251) 867-5413
   10/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $482.97         $678,333.06
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/25/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $574.86         $677,758.20
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/27/16                     Union Bank                               Bank Service Fee under 11                             2600-000                                        $555.92         $677,202.28
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/03/17            18       Thompson Carriers, LLC                   Settlement Proceeds                                   1249-000                 $9,500.00                              $686,702.28
                                PO Box 2508                              FedEx # is 8094 3190 1310
                                Opelika, AL 36804                        Thompson Carriers

                                    Case 13-04041                  Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                       Desc Main
                                                                                                                                                     $114,500.00            $4,029.48
                                                                              Document         Page 4 of 17
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                          Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                       Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX7288
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX1715                                                                            Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                           Separate Bond (if applicable): $1,000,000.00


       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   01/25/17                     Union Bank                                Bank Service Fee under 11                             2600-000                                        $573.98         $686,128.30
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   02/14/17            19       Intertek USA Inc                          Settlement Proceeds                                   1249-000               $13,400.00                               $699,528.30
                                2 Riverway, Suite 500                     Fed Ex # 8094 3190 0210
                                Houston, TX 77056                         Adv Proceeding
   02/27/17                     Union Bank                                Bank Service Fee under 11                             2600-000                                        $582.34         $698,945.96
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/27/17                     Union Bank                                Bank Service Fee under 11                             2600-000                                        $531.45         $698,414.51
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   04/25/17                     Union Bank                                Bank Service Fee under 11                             2600-000                                        $593.55         $697,820.96
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   05/25/17                     Union Bank                                Bank Service Fee under 11                             2600-000                                        $573.94         $697,247.02
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   07/05/17            20       Henry Marine Service, Inc                 Settlement Proceeds                                   1249-000                 $3,857.14                              $701,104.16
                                PO Box 7650                               Fed Exp 8094 3190 1960
                                Spanish Ft, AL 36577
   08/14/17            20       Henry Marine Service, Inc                 Settlement Proceeds                                   1249-000                 $3,857.14                              $704,961.30
                                PO Box 7650                               Fed Exp # 8094 3190 8427
                                Spanish Fort, AL 36577
   09/04/17            20       Henrt Marine Service, Inc                 Settlement Proceeds from Adv                          1249-000                 $3,857.14                              $708,818.44
                                PO Box 7650                               Proc
                                Spanish Ft, AL 36610                      . FedEx # 8094 3190 9449
   12/20/17            20       Henry Marine SErvice                      Settlement Proceeds                                   1249-000                 $3,857.14                              $712,675.58
                                PO Box 7650
                                Spanish Ft. AL 36577
   03/16/18            20       Henry Marine Service, Inc.                Settlement Proceeds from Adv                          1249-000                 $7,714.28                              $720,389.86
                                P.O. Box 7650                             Proc
                                Spanish Fort, AL 36577                    Fed Ex # 8094 3190 0633
   04/09/18            20       Henry Marine Service, Inc.                Settlement Proceeds from Adv                          1249-000                 $3,857.14                              $724,247.00
                                P.O. Box 7650                             Proc
                                Spanish Fort, AL 36577                    FedEx # 8094 3190 0655




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                                                                                Page Subtotals:                                                        Desc  Main
                                                                                                                                                       $40,399.98            $2,855.26
                                                                               Document         Page 5 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                         Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                      Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX7288
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1715                                                                           Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                          Separate Bond (if applicable): $1,000,000.00


       1                2                          3                                              4                                                    5                  6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                          ($)
   04/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $608.03         $723,638.97
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $594.11         $723,044.86
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $614.48         $722,430.38
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/01/18          300002     Smith PC., Paul &                        Attorney Fees and Expenses                            3110-000                                  $171,203.18          $551,227.20
                                150 South Dearborn Street
                                Mobile, AL 36602
   07/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $594.18         $550,633.02
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/27/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $477.43         $550,155.59
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $467.60         $549,687.99
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/25/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $452.11         $549,235.88
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $466.77         $548,769.11
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/26/18                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $451.36         $548,317.75
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/25/19                     Union Bank                               Bank Service Fee under 11                             2600-000                                       $466.00         $547,851.75
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/21/19             4       Cunningham Bounds, LLC                   BP Settlement                                         1149-000            $1,250,000.00                            $1,797,851.75
                                1601 Dauphin St.                         Payment on BP settlement
                                Mobile, AL 36604                         FedEx #8094 3190 0817




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                                                                               Page Subtotals:                                                       Desc Main
                                                                                                                                                   $1,250,000.00         $176,395.25
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                           Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                       Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX7288
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1715                                                                           Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                          Separate Bond (if applicable): $1,000,000.00


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   02/25/19                     Union Bank                               Bank Service Fee under 11                              2600-000                                       $465.60       $1,797,386.15
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/11/19                     Transfer to Acct # xxxxxx0040            Transfer of Funds                                      9999-000                                $1,797,386.15                 $0.00



                                                                                                          COLUMN TOTALS                            $2,001,698.08        $2,001,698.08
                                                                                                                Less: Bank Transfers/CD's                   $0.00       $1,797,386.15
                                                                                                          Subtotal                                 $2,001,698.08          $204,311.93
                                                                                                                Less: Payments to Debtors                   $0.00                $0.00
                                                                                                          Net                                      $2,001,698.08          $204,311.93




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                                                                               Page Subtotals:                                                        Desc$0.00
                                                                                                                                                           Main         $1,797,851.75
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                             Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                          Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0040
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1715                                                                               Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                             Separate Bond (if applicable): $1,000,000.00


       1                2                           3                                                4                                                     5                  6                     7

Transaction Date    Check or              Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
   03/11/19                     Transfer from Acct # xxxxxx7288           Transfer of Funds                                        9999-000            $1,797,386.15                            $1,797,386.15

   03/12/19           2001      INTERNATIONAL SURETIES, LTD               Distribution                                             2300-000                                    $3,000.00        $1,794,386.15
                                701 Poydras Street
                                Suite 420
                                New Orleans, LA 70139
   07/02/19           2002      Teddy J. Faust, Jr.                       Distribution                                             4110-000                                        $68.80       $1,794,317.35
                                Baldwin County Revenue Commission         Order allowing payment dated
                                P O Box 1549                              6/21/19 Doc 322
                                Bay Minette Al 36507
   07/02/19           2003      TEDDY J. FAUST, Jr.                       Distribution                                             4110-000                                        $82.56       $1,794,234.79
                                Baldwin County Revenue Commissioner       Order allowing payment dated
                                P. O. Box 1549                            6/21/19 Doc 322
                                Bay Minette, AL 36507
   07/02/19           2004      ATTORNEY DENISE LITTLETON, I              Distribution                                             3110-000                                    $1,215.00        $1,793,019.79
                                Denise I. Littleton, Attorney             Order allowing payment dated
                                312T Schillinger Road S.                  6/21/19 Doc 322
                                Box 415
                                Mobile, AL 36608
   07/02/19           2005      CLERK, US BANKRUPTCY COURT                Bill of Costs Docs # 165 - 171                           2700-000                                    $2,450.00        $1,790,569.79
                                201 St. Louis Street                      Order allowing payment dated
                                Mobile, AL 36602                          6/21/19 Doc 322
   07/02/19           2006      DENISE LITTLETON                          Distribution                                             2100-000                                   $83,300.94        $1,707,268.85
                                312-T Schillinger Rd S.                   Order allowing Partial Interim
                                Box 415                                   payment dated 6/21/19 Doc
                                Mobile, AL. 36608                         322 of $83,300.94
   07/02/19           2007      DENISE LITTLETON                          Distribution                                             2200-000                                    $2,245.81        $1,705,023.04
                                312-T Schillinger Rd S.                   Order allowing Interim payment
                                Box 415                                   dated 6/21/19 Doc 322
                                Mobile, AL. 36608
   07/02/19           2008      STEVE OLEN                                Distribution                                             3210-000                                  $447,920.00        $1,257,103.04
                                Cunningham Bounds, LLC                    Order approving disbursement
                                PO Box 66705                              dated 10/23/19 Doc 354
                                Mobile, AL 36660
   07/02/19           2009      Paul & Smith PC.                          Distribution                                             3110-000                                  $140,336.70        $1,116,766.34
                                150 South Dearborn Street                 Order granting disbursement
                                Mobile, AL 36602                          dated 6/21/19 Doc 324 for
                                                                          $140,336.70


                                     Case 13-04041                  Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                                Page Subtotals:                                                          Desc Main
                                                                                                                                                       $1,797,386.15         $680,619.81
                                                                               Document         Page 8 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                        Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                     Bank Name: Axos Bank
                                                                                                              Account Number/CD#: XXXXXX0040
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX1715                                                                          Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                         Separate Bond (if applicable): $1,000,000.00


       1                2                          3                                             4                                                    5                6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   07/02/19           2010      DEPARTMENT OF TREASURY                   Distribution                                         5800-000                                 $11,887.35        $1,104,878.99
                                Internal Revenue Service, PO Box         Order allowing payment dated
                                621505                                   6/21/19 Doc 322
                                Atlanta, Georgia 30362-1505
   07/02/19           2011      DEPARTMENT OF TREASURY                   Distribution                                         7100-000                                     $100.00       $1,104,778.99
                                Internal Revenue Service, PO Box         Order allowing payment dated
                                621505                                   6/21/19 Doc 322
                                Atlanta, Georgia 30362-1505
   07/02/19           2012      ASD TERMINAL RAILWAY                     Distribution                                         7100-000                                  $1,078.83        $1,103,700.16
                                Attn. Bill Roberts                       Order allowing payment dated
                                P.O. Box 1588                            6/21/19 Doc 322
                                Mobile, AL 36633
   07/02/19           2013      ALLEN, ALLEN & FOSTER, LLP               Distribution                                         7100-000                                     $275.12       $1,103,425.04
                                PO Box 2900                              Order allowing payment dated
                                Daphne, AL 36526                         6/21/19 Doc 322
   07/02/19           2014      CLEAN RITE INC                           Distribution                                         7100-000                                      $27.53       $1,103,397.51
                                PO Box 899                               Order allowing payment dated
                                Saraland, AL 36571                       6/21/19 Doc 322
   07/02/19           2015      FRATELLI COSULICH UNIPESSOAL S.          Distribution                                         7100-000                                $176,850.79          $926,546.72
                                A. (                                     Order allowing payment dated
                                c/o Jayna Partain Lamar                  6/21/19 Doc 322
                                1901 Sixth Avenue North
                                2400 Regions/Harbert Plaza               Stop Payment on 10/2/19 and
                                Birmingham, AL 35203-2618                reissued to Attorney for
                                                                         Creditor to send payment to
                                                                         Creditor.
   07/02/19           2016      VULCAN CAPITAL CORPORATION, LLC Distribution                                                  7100-000                                 $18,025.83          $908,520.89
                                c/o Lewis & Forrey              Order allowing payment dated
                                David Forrey                    6/21/19 Doc 322
                                15 Chambers Street
                                Princeton, NJ 08540
   07/02/19           2017      GOODWAY REFINING, LLC                    Distribution                                         7100-000                                 $56,452.64          $852,068.25
                                4745 Ross Road                           Order allowing payment dated
                                Atmore, AL 36502                         6/21/19 Doc 322
   07/02/19           2018      Crowley Maritime Inc                     Distribution                                         7100-000                                  $9,558.91          $842,509.34
                                9487 Regency Square Blvd                 Order allowing payment dated
                                Jacksonville, Fl 32225                   6/21/19 Doc 322




                                     Case 13-04041                 Doc 444   Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                              Page Subtotals:                                                        Desc$0.00
                                                                                                                                                          Main        $274,257.00
                                                                             Document         Page 9 of 17
                                                                                                                                                                                               Page:       10

                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                           Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0040
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1715                                                                             Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                            Separate Bond (if applicable): $1,000,000.00


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Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ($)
   07/02/19           2019      Henry Marine Services, Inc               Distribution                                            7100-000                                       $988.43         $841,520.91
                                c/o Richard Gaal
                                PO Boxc 350
                                Mobile, AL 36601
   07/02/19           2020      PETROCHINA INTERNATIONAL                 Distribution                                            7100-000                                   $28,817.46          $812,703.45
                                (AMERICA)                                Order allowing payment dated
                                C/O Sutherland Asbill & Brennan LLP,     6/21/19 Doc 322
                                Attn: Mark D. Sherrill
                                700 Sixth Street, NW
                                Suite 700
                                Washington, DC 20001
   07/08/19           2020      PETROCHINA INTERNATIONAL                 Distribution Reversal                                   7100-000                                  ($28,817.46)         $841,520.91
                                (AMERICA)                                Check is to be reissued to
                                C/O Sutherland Asbill & Brennan LLP,     George E Warren Corporation
                                Attn: Mark D. Sherrill
                                700 Sixth Street, NW
                                Suite 700
                                Washington, DC 20001
   07/08/19           2021      George E Warren Corportation             Distribution                                            7100-000                                   $28,817.46          $812,703.45
                                3001 Ocean Drive
                                Vero Beach, FL 32963
   07/19/19             4       Cunningham Bounds LLC                    BP Settlement                                           1149-000            $1,250,000.00                            $2,062,703.45
                                1601 Dauphin St.                         2nd payment on settlement -
                                Mobile, AL 36604                         UPS tracking # 1Z A25 51V 84
                                                                         9435 0677
   07/19/19           2022      DEPARTMENT OF TREASURY                   Distribution                                            7100-000                                         $3.66       $2,062,699.79
                                Internal Revenue Service, PO Box
                                621505
                                Atlanta, Georgia 30362-1505
   08/26/19           2023      PC Anderson & Wells                      Distribution                                            3420-000                                    $5,500.00        $2,057,199.79

   09/15/19           2024      Crowley Maritime Inc                     Distribution                                            7100-000                                  $150,000.00        $1,907,199.79
                                9487 Regency Square Blvd                 Pursuant to Order dated
                                Jacksonville, Fl 32225                   8/27/19 Doc #344
   09/15/19           2025      ALA DEPT OF REVENUE LEGAL DIV            Late Filing on 2017 Income Tax                          2820-000                                        $50.00       $1,907,149.79
                                P.O. BOX 320001                          Return
                                MONTGOMERY, AL 36132-0001




                                     Case 13-04041                 Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                         Desc Main
                                                                                                                                                     $1,250,000.00         $185,359.55
                                                                              Document         Page 10 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                         Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                      Bank Name: Axos Bank
                                                                                                               Account Number/CD#: XXXXXX0040
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1715                                                                           Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                          Separate Bond (if applicable): $1,000,000.00


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                        ($)
   10/03/19           2015      FRATELLI COSULICH UNIPESSOAL S.          Distribution Reversal                                 7100-000                              ($176,850.79)        $2,084,000.58
                                A. (                                     Order allowing payment dated
                                c/o Jayna Partain Lamar                  6/21/19 Doc 322
                                1901 Sixth Avenue North
                                2400 Regions/Harbert Plaza               Stop Payment on 10/2/19 and
                                Birmingham, AL 35203-2618                reissued to Attorney for
                                                                         Creditor to send payment to
                                                                         Creditor.
   10/08/19           2026      FRATELLI COSULICH UNIPESSOAL S.          Distribution                                          7100-000                                $176,850.79        $1,907,149.79
                                A. (                                     Stop Payment issued on check
                                c/o Briskman and Binion                  # 2015 reissued on this check
                                205 Church Street                        with address change.
                                Mobile, AL 36602
   11/04/19           2027      STEVE OLEN                               Attorney's fee                                        3210-000                                $438,465.00        $1,468,684.79
                                Cunningham Bounds, LLC                   Order allowing distribution
                                PO Box 66705                             dated 10/23/19 doc 354
                                Mobile, AL 36660
   12/19/19           2028      DENISE LITTLETON                         Trustee fees                                          2100-000                                 $37,500.00        $1,431,184.79
                                312-T SCHILLINGER ROAD S., BOX           Order approving partial
                                415,                                     disbursement dated 12/4/19
                                MOBILE, AL 36608                         Doc 366 for fees in the amount
                                                                         of $37,500.00
   12/19/19           2029      Paul & Smith PC.                         Trustee's Attorney                                    3110-000                                 $36,573.75        $1,394,611.04
                                150 South Dearborn Street                Second Interim payment Order
                                Mobile, AL 36602                         approving dated 12/4/19 Doc
                                                                         368
   12/19/19           2030      ASD TERMINAL RAILWAY                     Distribution                                          7100-000                                  $3,637.19        $1,390,973.85
                                Attn. Bill Roberts                       Second Order for Interim
                                P.O. Box 1588                            disbursement dated 12/4/19
                                Mobile, AL 36633                         Doc 368 for $3,637.19
   12/19/19           2031      ALLEN, ALLEN & FOSTER, LLP               Distribution                                          7100-000                                     $960.68       $1,390,013.17
                                PO Box 2900                              Second Order for Interim
                                Daphne, AL 36526                         disbursement dated 12/4/19
                                                                         Doc 368 for $960.68
   12/19/19           2032      CLEAN RITE INC                           Distribution                                          7100-000                                      $96.15       $1,389,917.02
                                PO Box 899                               Second Order for Interim
                                Saraland, AL 36571                       disbursement dated 12/4/19
                                                                         Doc 368 for $96.15



                                    Case 13-04041                  Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                        Desc$0.00
                                                                                                                                                           Main        $517,232.77
                                                                              Document         Page 11 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                        Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                     Bank Name: Axos Bank
                                                                                                              Account Number/CD#: XXXXXX0040
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX1715                                                                          Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                         Separate Bond (if applicable): $1,000,000.00


       1                2                          3                                             4                                                    5                6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        ($)
   12/19/19           2033      FRATELLI COSULICH UNIPESSOAL S.          Distribution                                         7100-000                                $617,548.47          $772,368.55
                                A. (                                     Second Order for Interim
                                c/o Briskman and Binion                  disbursement dated 12/4/19
                                205 Church Street                        Doc 368 for $617,548.47
                                Mobile, AL 36602
   12/19/19           2034      VULCAN CAPITAL CORPORATION, LLC          Distribution                                         7100-000                                 $62,944.71          $709,423.84
                                c/o Lewis & Forrey                       Second Order for Interim
                                David Forrey                             disbursement dated 12/4/19
                                15 Chambers Street                       Doc 368 for $62,944.71
                                Princeton, NJ 08540
   12/19/19           2035      George E Warren Corportation             Distribution                                         7100-000                                $100,628.21          $608,795.63
                                3001 Ocean Drive                         Second Order for Interim
                                Vero Beach, FL 32963                     disbursement dated 12/4/19
                                                                         Doc 368 for $100,628.21
   12/19/19           2036      GOODWAY REFINING, LLC                    Distribution                                         7100-000                                $197,128.01          $411,667.62
                                4745 Ross Road                           Second Order for Interim
                                Atmore, AL 36502                         disbursement dated 12/4/19
                                                                         Doc 368 for $197,128.01
   12/19/19           2037      Crowley Maritime Inc                     Distribution                                         7100-000                                 $13,475.08          $398,192.54
                                9487 Regency Square Blvd                 Second Order for Interim
                                Jacksonville, Fl 32225                   disbursement dated 12/4/19
                                                                         Doc 368 for $13,475.08
   12/19/19           2038      Henry Marine Services, Inc               Distribution                                         7100-000                                  $3,451.53          $394,741.01
                                c/o Richard Gaal                         Second Order for Interim
                                PO Boxc 350                              disbursement dated 12/4/19
                                Mobile, AL 36601                         Doc 368 for $3,451.53
   12/20/19           2039      DENISE LITTLETON                         Distribution                                         2200-000                                      $25.45         $394,715.56
                                312-T SCHILLINGER ROAD S., BOX           Second Interim payment per
                                415,                                     Order dated 12/4/19 Doc 366
                                MOBILE, AL 36608
   01/03/20           2040      ALA DEPT OF REVENUE LEGAL DIV.           Distribution                                         2820-000                                      $50.00         $394,665.56
                                Individual and Corporat Tax Dovosopm     2016 Late Penalty Fee for Tax
                                Pass Thru Entity Unit                    ID #XX-XXXXXXX
                                P.O. BOX 327444
                                MONTGOMERY, AL 36132-7444




                                     Case 13-04041                 Doc 444   Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                              Page Subtotals:                                                        Desc$0.00
                                                                                                                                                          Main        $995,251.46
                                                                             Document         Page 12 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                           Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0040
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1715                                                                             Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                            Separate Bond (if applicable): $1,000,000.00


       1                2                           3                                               4                                                    5                  6                      7

Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)     Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   01/03/20           2041      ALA DEPT OF REVENUE LEGAL DIV.           Distribution                                            2820-000                                        $50.00          $394,615.56
                                Individual and Corporat Tax Dovosopm     2015 Late Penalty Fee for Tax
                                Pass Thru Entity Unit                    ID #XX-XXXXXXX
                                P.O. BOX 327444
                                MONTGOMERY, AL 36132-7444
   01/03/20           2042      ALA DEPT OF REVENUE LEGAL DIV.           Distribution                                            2820-000                                        $50.00          $394,565.56
                                Individual and Corporat Tax Dovosopm     2014 Late Tax Penalty for Tax
                                Pass Thru Entity Unit                    ID #XX-XXXXXXX
                                P.O. BOX 327444
                                MONTGOMERY, AL 36132-7444
   01/21/20           2043      INTERNATIONAL SURETIES, LTD              Distribution                                            2300-000                                    $3,000.00           $391,565.56
                                701 Poydras Street                       for 2/21/20 o 2/21/21
                                Suite 420
                                New Orleans, LA 70139
   03/03/20           2044      ALA DEPT OF REVENUE LEGAL DIV.           2013 Penalty                                            2820-000                                        $50.00          $391,515.56
                                Individual and Corporat Tax Dovosopm
                                Pass Thru Entity Unit
                                P.O. BOX 327444
                                MONTGOMERY, AL 36132-7444
   05/11/20           2045      Anderson & Wells PC                      Accountant Fees                                         3410-000                                    $1,250.00           $390,265.56
                                Certified Public Accountants
                                6305-A Piccadilly Square drive
                                Mobile, AL 36609
   07/07/20           2032      CLEAN RITE INC                           Distribution Reversal                                   7100-000                                       ($96.15)         $390,361.71
                                PO Box 899                               Second Order for Interim
                                Saraland, AL 36571                       disbursement dated 12/4/19
                                                                         Doc 368 for $96.15. Stop
                                                                         Payment was issued and new
                                                                         check written 7/17/2020
   07/16/20             4       Cunningham Bounds LLC                    BP Settlement                                           1149-000            $1,250,000.00                             $1,640,361.71
                                1601 Dauphin St.                         UPS tracking #1Z A25 51V 84
                                Mobile, AL 36604                         9367 6087
   07/16/20           2046      CLEAN RITE INC                           Distribution                                            7100-000                                        $96.15        $1,640,265.56
                                PO Box 899                               Previous check # 2032 was
                                Saraland, AL 36571                       stale and a stopped payment
                                                                         was issued. Replacement
                                                                         check to be mail to same
                                                                         address



                                     Case 13-04041                 Doc 444   Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                              Page Subtotals:                                                          Desc Main
                                                                                                                                                     $1,250,000.00           $4,400.00
                                                                             Document         Page 13 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                           Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0040
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1715                                                                             Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                            Separate Bond (if applicable): $1,000,000.00


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Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)   Disbursements ($)     Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
   10/04/20           2054      DENISE LITTLETON                         Distribution Reversal                                   7100-000                              ($617,548.44)         $2,257,814.00
                                312-T SCHILLINGER ROAD S., BOX           Wrong Payee
                                415,
                                MOBILE, AL 36608
   10/04/20           2053      DENISE LITTLETON                         Distribution Reversal                                   7100-000                                     ($96.15)       $2,257,910.15
                                312-T SCHILLINGER ROAD S., BOX           Wrong Payee
                                415,
                                MOBILE, AL 36608
   10/04/20           2051      DENISE LITTLETON                         Distribution Reversal                                   7100-000                                 ($3,637.19)        $2,261,547.34
                                312-T SCHILLINGER ROAD S., BOX           Order Allowing Disbursement
                                415,                                     dated 9/23/20
                                MOBILE, AL 36608
   10/04/20           2047      DENISE LITTLETON                         Distribution                                            2100-000                                 $37,500.00         $2,224,047.34
                                312-T SCHILLINGER ROAD S., BOX           Order Allowing Disbursement
                                415,                                     dated 9/23/20
                                MOBILE, AL 36608
   10/04/20           2048      DENISE LITTLETON                         Distribution                                            2200-000                                       $4.00        $2,224,043.34
                                312-T SCHILLINGER ROAD S., BOX           Order Allowing Disbursement
                                415,                                     dated 9/23/20
                                MOBILE, AL 36608
   10/04/20           2049      STEVE OLEN                               Distribution                                            3210-000                                $437,500.00         $1,786,543.34
                                Cunningham Bounds, LLC                   Order Allowing Disbursement
                                PO Box 66705                             dated 9/23/20
                                Mobile, AL 36660
   10/04/20           2050      Paul & Smith PC.                         Distribution                                            3110-000                                  $5,635.50         $1,780,907.84
                                150 South Dearborn Street                Order Allowing Disbursement
                                Mobile, AL 36602                         dated 9/23/20
   10/04/20           2051      DENISE LITTLETON                         Distribution                                            7100-000                                  $3,637.19         $1,777,270.65
                                312-T SCHILLINGER ROAD S., BOX           Order Allowing Disbursement
                                415,                                     dated 9/23/20
                                MOBILE, AL 36608
   10/04/20           2052      ALLEN, ALLEN & FOSTER, LLP               Distribution                                            7100-000                                     $960.68        $1,776,309.97
                                PO Box 2900                              Order Allowing Disbursement
                                Daphne, AL 36526                         dated 9/23/20
   10/04/20           2053      DENISE LITTLETON                         Distribution                                            7100-000                                      $96.15        $1,776,213.82
                                312-T SCHILLINGER ROAD S., BOX
                                415,
                                MOBILE, AL 36608


                                    Case 13-04041                  Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                          Desc$0.00
                                                                                                                                                             Main      ($135,948.26)
                                                                              Document         Page 14 of 17
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                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                           Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0040
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1715                                                                             Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                            Separate Bond (if applicable): $1,000,000.00


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Transaction Date    Check or             Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   10/04/20           2054      DENISE LITTLETON                         Distribution                                            7100-000                                   $617,548.44        $1,158,665.38
                                312-T SCHILLINGER ROAD S., BOX
                                415,
                                MOBILE, AL 36608
   10/04/20           2055      VULCAN CAPITAL CORPORATION, LLC Distribution                                                     7100-000                                    $62,944.70        $1,095,720.68
                                c/o Lewis & Forrey              Order Allowing Disbursement
                                David Forrey                    dated 9/23/20
                                15 Chambers Street
                                Princeton, NJ 08540
   10/04/20           2056      FRATELLI COSULICH UNIPESSOAL S.          Distribution                                            7100-000                                   $617,548.00          $478,172.68
                                A. (                                     Order Allowing Disbursement
                                c/o Briskman and Binion                  dated 9/23/20
                                205 Church Street
                                Mobile, AL 36602
   10/04/20           2057      CLEAN RITE INC                           Distribution                                            7100-000                                         $96.15         $478,076.53
                                PO Box 899                               Order Allowing Disbursement
                                Saraland, AL 36571                       dated 9/23/20
   10/04/20           2058      ASD TERMINAL RAILWAY                     Distribution                                            7100-000                                     $3,637.19          $474,439.34
                                Attn. Bill Roberts                       Order Allowing Disbursement
                                P.O. Box 1588                            dated 9/23/20
                                Mobile, AL 36633
   10/04/20           2059      George E Warren Corportation             Distribution                                            7100-000                                   $100,628.20          $373,811.14
                                3001 Ocean Drive                         Order Allowing Disbursement
                                Vero Beach, FL 32963                     dated 9/23/20
   10/04/20           2060      GOODWAY REFINING, LLC                    Distribution                                            7100-000                                   $197,128.00          $176,683.14
                                PO Box 649                               Order Allowing Disbursement
                                Brewton, AL 36427                        dated 9/23/20
   10/04/20           2061      Crowley Maritime Inc                     Distribution                                            7100-000                                    $13,475.08          $163,208.06
                                9487 Regency Square Blvd                 Order Allowing Disbursement
                                Jacksonville, Fl 32225                   dated 9/23/20
   10/04/20           2062      Henry Marine Services, Inc               Distribution                                            7100-000                                     $3,451.53          $159,756.53
                                c/o Richard Gaal                         Order Allowing Disbursement
                                PO Boxc 350                              dated 9/23/20
                                Mobile, AL 36601
   10/10/20            21       Blackburn & Conner P.C.                  Compromise Payment                                      1249-000                 $7,383.20                              $167,139.73
                                P.O. Box 458                             Per Court Order Dated
                                110 Courthouse Square                    8/21/2020, Doc. # 398
                                Bay Minette, AL 36507                    UPS # 1Z A25 51V 84 9094
                                                                         8477

                                     Case 13-04041                 Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                               Page Subtotals:                                                          Desc  Main
                                                                                                                                                         $7,383.20        $1,616,457.29
                                                                              Document         Page 15 of 17
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                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-04041                                                                                            Trustee Name: DENISE LITTLETON, Trustee
      Case Name: SPECIALTY FUELS BUNKERING, L.L.C.                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0040
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1715                                                                             Blanket Bond (per case limit):
For Period Ending: 03/24/2021                                                                            Separate Bond (if applicable): $1,000,000.00


       1                2                             3                                            4                                                     5                   6                      7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   01/06/21           2063      INTERNATIONAL SURETIES, LTD               Distribution                                           2300-000                                     $3,000.00           $164,139.73
                                701 Poydras Street                        Bond Premium
                                Suite 420
                                New Orleans, LA 70139
   01/20/21             4       Cunningham Bounds, LLC                    BP Settlement                                          1149-000            $1,250,000.00                              $1,414,139.73
                                1601 Dauphin St.                          Final BP settlement check
                                Mobile, AL 36604                          UPS # 1ZA2551V8492818694
   02/02/21           2046      CLEAN RITE INC                            Distribution Reversal                                  7100-000                                        ($96.15)       $1,414,235.88
                                PO Box 899                                Previous check # 2032 was
                                Saraland, AL 36571                        stale and a stopped payment
                                                                          was issued. Replacement
                                                                          check to be mail to same
                                                                          address
   03/03/21                     Axos Bank                                 Bank Service Fee under 11                              2600-000                                     $1,410.36         $1,412,825.52
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/24/21           2064      STEVE OLEN                                Distribution                                           3110-000                                   $437,500.00           $975,325.52
                                Cunningham Bounds, LLC                    Order approving Final Payment
                                PO Box 66705                              dated 3/24/2021
                                Mobile, AL 36660
   03/24/21           2065      William C. Philpot, Jr.                   Distribution                                           3210-000                                     $9,300.52           $966,025.00
                                PO Box 2804                               Order approving distribution
                                Mobile, AL 36652                          dated 3/24/2022 Doc #443


                                                                                                           COLUMN TOTALS                             $5,554,769.35        $4,588,744.35
                                                                                                                 Less: Bank Transfers/CD's           $1,797,386.15                 $0.00
                                                                                                           Subtotal                                  $3,757,383.20        $4,588,744.35
                                                                                                                 Less: Payments to Debtors                    $0.00                $0.00
                                                                                                           Net                                       $3,757,383.20        $4,588,744.35




                                     Case 13-04041                  Doc 444    Filed 03/24/21 Entered 03/24/21 18:04:07
                                                                                Page Subtotals:                                                        Desc Main
                                                                                                                                                     $1,250,000.00          $451,114.73
                                                                               Document         Page 16 of 17
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                                                                                              TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET              ACCOUNT
                                                                                                            NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                 XXXXXX0040 - Checking Account                                $3,757,383.20          $4,588,744.35             $966,025.00
                                                 XXXXXX7288 - Checking Account                                $2,001,698.08            $204,311.93                   $0.00

                                                                                                              $5,759,081.28          $4,793,056.28             $966,025.00

                                                                                                           (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                   transfers)            to debtors)
                                                 Total Allocation Receipts:                       $0.00
                                                 Total Net Deposits:                       $5,759,081.28
                                                 Total Gross Receipts:                     $5,759,081.28



Trustee Signature:   /s/ DENISE LITTLETON, Trustee    Date: 03/24/2021

                     DENISE LITTLETON, Trustee
                     312-T Schillinger RD S
                     BOX 415
                     Mobile Al, 36608
                     (251)304-0070




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                                                                          Page Subtotals:                                   Desc$0.00
                                                                                                                                 Main                  $0.00
                                                                         Document         Page 17 of 17
